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                              UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                          O RLANDO D IVISION

 HECTOR L. GARCIA,
 GEORGE CHAMMAS
                                 Plaintiff,

 -vs-                                                           Case No. 6:05-cv-673-Orl-KRS

 FLEETWOOD LIMOUSINE, INC.,
 GHALEB ABURISH, individually,
 SAMIH IBRAHIM ABURISH, individually,
 NINA SAMIH ABURISH, individually
                         Defendants.
 ______________________________________

                           SUPPLEMENTAL BRIEFING ORDER

         This cause came on for consideration after consideration of the request of counsel to file

 supplemental memoranda regarding whether the statements of Magistrate Judge James G. Glazebrook

 on the record at the close of the bench trial in this case are sufficient findings of fact and conclusions

 of law under Federal Rule of Civil Procedure 52, and to supplement their closing arguments.

         I have now reviewed the transcript of the bench trial, and it appears clear to me that Judge

 Glazebrook did not intend his comments to constitute findings of fact and conclusions of law under

 Rule 52.1 Nevertheless, it is appropriate to permit counsel to file a memoranda of law addressing that


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            At the close of the bench trial, Judge Glazebrook stated: “I’m prepared to tell you what my
 ruling is going to be, but I’m going to lay it out by order.” Trial Tr. 253: 21-22. He then stated: “I do
 find that the burden of proof by the defendant Fleetwood Limousine, Inc. has been met on the [motor
 carrier] exemption, and I’m going to lay it out.” Id. at 254: 23-25 (emphasis added). He added:

         As a housekeeping matter, the initial case, the prima facie case was proved as to
         Fleetwood Limousine, as to Samih Aburish, as to Nida Aburish because of her
         positions, but not as to Ghaleb Aburish. The only testimony was he was vice-president
         of Fleetwood Limousine. There was no showing of operational control of the
         corporation’s covered enterprise, which if you want to see a case that is useful on that,
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 issue. Counsel may also include in their memoranda a legal and factual analysis to supplement their

 closing arguments.

        The supplemental memoranda, which shall not exceed twenty pages, shall be filed on or before

 July 2, 2007.

        DONE and ORDERED in Orlando, Florida on June 16, 2007.

                                                                 Karla R. Spaulding
                                                              KARLA R. SPAULDING
                                                        UNITED STATES MAGISTRATE JUDGE


 Copies furnished to:
 Counsel of Record
 Unrepresented Parties




        Patel v. Wargo, 803 F.2d [632], Eleventh Circuit, 1986, at page 637, 638. I’ll put that
        in the order.

 Id. at 255: 1-9 (emphasis added).

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